  Case: 1:24-cv-03806 Document #: 34 Filed: 11/19/24 Page 1 of 2 PageID #:43




                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 JIAXING LIEFENG OUTDOOR PRODUCTS,
 CO., LTD., a Chinese company,

                           Plaintiff,                  Case No. 1:24-cv-03806

           vs.

 HERITAGE TRAVELWARE, LTD., an Illinois
 corporation,
                Defendant.



              ORDER GRANTING MOTION FOR DEFAULT JUDGMENT

                                            Recitals

         1.       Defendant was served with the Summons and Complaint by personal

service on September 30, 2024.

         2.       Defendant failed to file an Answer and the deadline for doing so has

expired.

         3.       Plaintiff has filed a Motion for Default Judgment in which Plaintiff

requests a money judgment against Defendant in the amount of $941,763.95.



4860-5864-7801, v. 3
  Case: 1:24-cv-03806 Document #: 34 Filed: 11/19/24 Page 2 of 2 PageID #:44




         NOW THEREFORE, IT IS HEREBY ORDERED AS FOLLOWS:

         1.       The Recitals are incorporated herein by reference.

         2.       Plaintiff’s Motion for Default Judgment is granted.

         3.       Plaintiff is entitled to a money judgment against Defendant in the amount

of $941,763.95.

                                            ####




4860-5864-7801, v. 3
